                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 FRANKLIN CONSTRUCTION GROUP, LLC, )
                                    )
       Plaintiff,                   )
                                    )
 v.                                 )
                                                            Case No. 3:24-cv-01255
                                    )
                                                            JURY DEMAND
 WILLIAM SHORE, JWSC, LLC, KEITH    )
 MEADOWS, JOSEPH HEATH, HYDS, INC., )
                                                            Judge Waverly D. Crenshaw, Jr.
 DEAN BINGHAM, LUNDON JOHNSON,      )
                                                            Magistrate Judge Jeffery S. Frensley
 TYLER WEBER, JOEL CHEVRETTE,       )
 DANNY KNOWLES, SCOTT MATTHEWS,     )
 and LOWE’S HOME CENTERS, INC.,     )
                                    )
       Defendants.                  )


                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
               DEFENDANT JOEL CHEVRETTE’S MOTION TO DISMISS


       Plaintiff respectfully asks this Court to deny Defendant Joel Chevrette’s Motion to Dismiss

for lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2).

                                     I.      BACKGROUND

       From at least 2021 to 2023, as summarized in Plaintiff’s responses to the various other

motions to dismiss the defendants have filed, the defendants worked in concert to execute a

tremendous and purposeful fraud on Plaintiff, which caused millions of dollars in damage. Plaintiff

has alleged that Defendant Chevrette was a participant in that illegal scheme. Specifically, Plaintiff

has alleged that Defendant Chevrette personally paid Defendant Shore, through his alter ego,

Defendant JWSC, LLC, $13,500.00 in fraudulent kickbacks as part of the alleged conspiracy.

Compl., at ¶ 86. Defendant Chevrette does not acknowledge this allegation anywhere in his Motion

or its supporting Memorandum. Instead, his Memorandum and accompanying declaration ignore


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this allegation and assert that Plaintiff has made no specific allegations against him and that he

“had no contact or dealings with FCG and no contacts whatsoever with Tennessee.” Memo. at 1-

3.

        But the Court need not accept Defendant Chevrette’s self-serving representations as fact at

the motion to dismiss stage of this litigation. Plaintiff has attached to this Response a declaration

by Ben Schaedle, an equity holder of Plaintiff, supporting Plaintiff’s allegations that Defendant

Chevrette participated in the scheme alleged in the Complaint. See Exhibit A, Declaration of Ben

Schaedle. That declaration and the allegations in the Complaint demonstrate sufficient minimum

contacts to convey personal jurisdiction over Defendant Chevrette in this District. Even if they did

not, given the nature of the fraudulent scheme and the defendants’ possession of the details

concerning it, the Court should grant discovery to Plaintiff to better define Defendant Chevrette’s

role and establish personal jurisdiction rather than dismiss the case against him at this early stage. 1

                                   II.     LEGAL STANDARD

        “Where a federal court’s subject matter jurisdiction over a case stems from the existence

of a federal question, personal jurisdiction over a defendant exists ‘if the defendant is amenable to




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  See, e.g., Serras v. First Tennessee Bank Nat. Ass’n, 875 F.2d 1212, 1215 (6th Cir. 1989) (“The
court’s solicitude for defendants who object to its personal jurisdiction is always tempered [] by
its concern that the door to a federal courtroom not be slammed in the face of a plaintiff seeking
to invoke its powers where there is, in fact, no defect in personal jurisdiction. Particularly where
the disputed jurisdictional facts are intimately intertwined with the parties’ dispute on the merits,
a trial court should not require plaintiffs to mount proof which would, in effect, establish the
validity of their claims and their right to the relief sought. Judicial resources may be more
efficiently deployed if the court holds but one hearing on the contested facts. And more
fundamentally, as the Second Circuit has noted, postponing proof till trial allows a plaintiff to
present all her proof in a coherent, orderly fashion and without the risk of prejudicing his case on
the merits. In many cases, then, a district court may find sound reasons to rule, on the basis of
written submissions, that the plaintiff has made her prima facie showing that the court has personal
jurisdiction over a defendant, and to reserve all factual determinations on the issue for trial.”)
(internal quotation marks and citation omitted).
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service of process under the [forum] state’s long-arm statute and if the exercise of personal

jurisdiction would not deny the defendant[] due process.’” Bird v. Parsons, 289 F.3d 865, 871 (6th

Cir. 2002) (quoting Mich. Coal. of Radioactive Material Users, Inc. v. Griepentrog, 954 F.2d 1174,

1176 (6th Cir. 1992)). Because “Tennessee[’s] long-arm statute has been interpreted as

coterminous with the limits on personal jurisdiction imposed by the due process clause,” the Court

need “address only whether exercising personal jurisdiction over [the defendants] is consistent

with federal due process requirements.” Bridgeport Music, Inc. v. Still N The Water Publ’g, 327

F.3d 472, 477 (6th Cir. 2003) (internal quotation marks and citation omitted). Maintenance of the

suit must not offend “traditional notions of fair play and substantial justice.” Watkins v. Kajima

Intern. Corp., No. 3:08–0426, 2010 WL 3491172, at *2 (M.D. Tenn. Sept. 1, 2010) (quoting Int’l

Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); Youn v. Track, Inc., 324 F.3d 409, 417 (6th

Cir. 2003)). 2

        “Personal jurisdiction can be either general or specific, depending upon the nature of the

contacts that the defendant has with the forum state.” Bridgeport Music, 327 F.3d at 477 (quoting

Bird, 289 F.3d at 873). Plaintiffs, at this juncture, do not allege that this Court has general

jurisdiction over Defendant Chevrette. Specific jurisdiction exists where the applicable three-part

test is satisfied.

        First, the defendant must purposefully avail himself of the privilege of acting in the
        forum state or causing a consequence in the forum state. Second, the cause of action
        must arise from the defendant’s activities there. Finally, the acts of the defendant


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  “The Supreme Court has noted, on more than one occasion, the confluence of the ‘increasing
nationalization of commerce’ and ‘modern transportation and communication,’ and the resulting
relaxation of the limits that the Due Process Clause imposes on courts’ jurisdiction. . . . Simply
stated, there is less perceived need today for the federal constitution to protect defendants from
‘inconvenient litigation,’ because all but the most remote forums are easily accessible for the
pursuit of both business and litigation.” CompuServe, Inc. v. Patterson, 89 F.3d 1257 (6th Cir.
1996) (quoting World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 293 (1980); McGee v.
Int’l Life Ins. Co., 355 U.S. 220, 223 (1957)).
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       or consequence caused by the defendant must have a substantial enough connection
       with the forum state to make the exercise of jurisdiction over the defendant
       reasonable.

Id. at 477-78 (quoting S. Mach. Co. v. Mohasco Indus., Inc., 401 F.2d 374, 381 (6th Cir. 1968)).

“If any of the three requirements is not met, personal jurisdiction may not be invoked.” Global

Force Entm’t, Inc. v. Anthem Sports & Entm’t Corp., 385 F. Supp. 3d 576, 586 (M.D. Tenn. 2019)

(Crenshaw, C.J.) (quoting Miller v. AXA Winterthur Ins. Co., 694 F.3d 675, 680 (6th Cir. 2012)).

       When considering a Rule 12(b)(2) motion, a court “has three procedural alternatives: (1)

the court may determine the motion on the basis of written submissions and affidavits alone; (2) it

may permit discovery in aid of the motion; or (3) it may conduct an evidentiary hearing on the

merits of the motion.” Roundtree-Chism v. Dunn, No. 1:16-cv-387, 2017 WL 2312900, at *2 (E.D.

Tenn. May 26, 2017) (quoting Destination Designs, LLC v. Glick, No. 3:08-CV-197, 2008 WL

4559815, at *2 (E.D. Tenn. Oct. 9, 2008)). When the court rules without an evidentiary hearing,

“the plaintiff’s burden of proof is relatively slight.” Ever-Seal, Inc. v. DuraSeal, Inc., No. 3:22-cv-

00365, 2022 WL 3599519, at *6 (M.D. Tenn. Aug. 23, 2022) (citation and quotation marks

omitted). “‘[T]he plaintiff need only make a “prima facie” case that the court has personal

jurisdiction,’ . . . and ‘the court must consider the pleadings and affidavits in a light most favorable

to the plaintiff.’” Dunn, 2017 WL 2312900, at *2 (quoting Conn v. Zakharov, 667 F.3d 705, 711

(6th Cir. 2012)); CompuServe, Inc., 89 F.3d at 1262); see also Ever-Seal, Inc., 2022 WL 3599519,

at *6 (“uncontroverted allegations must be taken as true, and conflicts between parties over

statements contained in affidavits must be resolved in the plaintiff’s favor”) (quoting Johansen v.

HomeAdvisor, Inc., 218 F. Supp. 3d 577, 583 (S.D. Ohio 2016)).




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                                       III.    ANALYSIS

       The facts alleged in the Complaint and the Declaration of Ben Schaedle are sufficient for

the Court to deny Defendant Chevrette’s Motion to Dismiss on the written submissions alone.

They make a prima facie case that Defendant Chevrette has (1) purposely availed himself of the

privilege of acting and causing consequences in the forum state; (2) given rise to the cause of

action through his conduct; and (3) rendered this Court’s exercise of jurisdiction reasonable. See

Mohasco Indus., Inc., 401 F.2d at 381. Accordingly, Defendant Chevrette’s Motion to Dismiss

should be denied.

       A.      The purposeful availment prong of the specific jurisdiction test is satisfied.

       Purposeful availment is the “sine qua non for in personam jurisdiction.” Id. at 381-82. In

Bridgeport Music, the Sixth Circuit gave a thorough summary of the principles underlying

purposeful availment.

       “‘[P]urposeful availment is something akin to a deliberate undertaking to do or
       cause an act or thing to be done in [the forum state] or conduct which can be
       properly regarded as a prime generating cause of the effects resulting in [the forum
       state], something more than a passive availment of [the forum state’s]
       opportunities.’” Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883, 891 (6th
       Cir. 2002) (internal citation and quotation omitted). “The ‘purposeful availment’
       requirement is satisfied when the defendant’s contacts with the forum state
       ‘proximately result from actions by the defendant himself that create a ‘substantial
       connection’ with the forum State,’ and when the defendant’s conduct and
       connection with the forum are such that he ‘should reasonably anticipate being
       haled into court there.’” CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1263 (6th
       Cir. 1996) (quoting Burger King, 471 U.S. at 474–75, 105 S. Ct. 2174). The
       “‘purposeful availment’ requirement ensures that a defendant will not be haled into
       a jurisdiction solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts,
       or of the ‘unilateral activity of another party or a third person.’” Burger King, 471
       U.S. at 475, 105 S. Ct. 2174 (internal citation omitted); see also LAK, Inc. v. Deer
       Creek Enters., 885 F.2d 1293, 1300 (6th Cir. 1989). The emphasis in the purposeful
       availment inquiry is whether the defendant has engaged in “some overt actions
       connecting the defendant with the forum state.” Dean v. Motel 6 Operating L.P.,
       134 F.3d 1269, 1274 (6th Cir. 1998). If a plaintiff can demonstrate purposeful
       availment, the absence of physical contacts with the forum state will not defeat



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       personal jurisdiction over a non-resident defendant. See Burger King, 471 U.S. at
       476, 105 S. Ct. 2174; CompuServe, 89 F.3d at 1265.

327 F.3d at 478-79.

       By definition, the minimum contacts required for specific jurisdiction need not be

“pervasive,” or “continuous and systemic,” like those required for general jurisdiction. See, e.g.,

Krauss-Maffei Corp. v. Donovan, No. 07–99, 2008 WL 108757, at *2 (E.D. Ky. Jan. 9, 2008)

(comparing general and specific jurisdiction). “[E]ven a single act by defendant directed toward

Tennessee that gives rise to a cause of action can support a finding of minimum contacts sufficient

to exercise personal jurisdiction without offending due process.” Neal v. Janssen, 270 F.3d 328,

331 (6th Cir. 2001) (Merritt, J.) (citing Calder v. Jones, 465 U.S. 783 (1984)).

       The factors used in weighing minimum contacts are their quantity, quality and
       nature, the source and connection of the cause of action with those contacts, interest
       of the forum state and last, convenience. However, for minimum contacts to be
       found to exist, each and every factor is not required to be present. Instead, a
       weighing of these factors must lead the Court to a conclusion that the exercise of
       personal jurisdiction does not offend traditional notions of fair play and substantial
       justice.

Hi Fi Corner, Inc. v. Inflight Cinema Intern., Inc., 505 F. Supp. 12, 14 (M.D. Tenn. 1980) (Nixon,

J.) (internal citation omitted); see also Nick Kostecki Excavating, Inc. v. Integrated Mach., Inc.,

1:23 CV 2370, 2024 WL 3046316, at *4 (N.D. Ohio June 18, 2024) (“The ‘quality’ of the contacts,

as opposed to their number, is essential to determining whether minimum contacts exist sufficient

to establish personal jurisdiction.”) (quoting Matrix Essentials, Inc. v. Harmon Stores, Inc., 205 F.

Supp. 2d 779, 787 (N.D. Ohio 2001)); Pioneer Log Sys., Inc. v. Wilson, No. 3:08cv0313, 2008 WL

11394352, at *3 (M.D. Tenn. July 9, 2008) (“The sufficiency of a defendant’s ‘minimum contacts’

is not dependent on quantity but rather the ‘quality and nature’ of the contacts.”) (quoting Int’l

Shoe Co., 326 U.S. at 319).




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             Specific jurisdiction is more easily found when a defendant commits an intentional tort

directed at the forum state. See Scotts Co. v. Aventis S.A., 145 F. App’x 109, 113 n.1 (6th Cir.

2005) (noting that “a defendant’s contacts with the forum may be enhanced if the defendant aimed

its tortious conduct at the forum and plaintiff’s forum state was the focus of the activities of the

defendant out of which the suit arises”). The requirement that a defendant’s “suit-related conduct”

shows a “substantial connection with the forum State” is satisfied “when the defendant

intentionally cultivates contacts with the forum State, as opposed to forming ‘random, fortuitous,

or attenuated contacts.’” Johnson v. Griffin, 85 F.4th 429, 432-33 (6th Cir. 2023) (quoting Walden

v. Fiore, 571 U.S. 277, 283 (2014)). “[W]hen a foreign defendant purposefully directs

communications into the forum that cause injury within the forum, and those communications form

the ‘heart’ of the cause of action, personal jurisdiction may be present over that defendant without

defendant’s presence in the state.” Neal, 270 F.3d at 333; see also Griffin, 85 F.4th at 434 (“Due

process provides no refuge for lies or reckless conduct directly sent to a decisionmaker in a forum

. . . .”).

             Applying these standards, this Court has personal jurisdiction over Defendant Chevrette.

Plaintiff alleges that Defendant Chevrette paid at least $13,050.00 in kickbacks to Defendant Shore

as part of defendants’ scheme detailed in the Complaint. Compl., at ¶ 86. That figure is based on

the “JWSC Income by Customer Summary” document identified by Plaintiff during its

investigation of the fraud. See Declaration of Ben Schaedle at ¶ 7, Exhibit 1.

             While even one kickback payment into Tennessee would be sufficient to establish personal

jurisdiction, see Neal, 270 F.3d at 331, Defendant Chevrette made multiple – at least six – separate

payments to Defendant JWSC (Defendant Shore’s alter ego Tennessee corporation) on July 18,

2022. See Declaration of Ben Schaedle at ¶ 8, Exhibit 2. These payments may correspond with a



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series of invoices sent from Defendant JWSC to Defendant Chevrette in May 2022. Id. Defendant

Chevrette’s assertions that he did not service any (legitimate) Lowe’s accounts or customers in

Tennessee, Memo. at 3-4, only bolster Plaintiff’s allegations that these payments were kickbacks

in furtherance of the scheme and conspiracy alleged in the Complaint.

       By paying these kickbacks to the Tennessee-based Defendants JWSC and Shore,

Defendant Chevrette made a “deliberate undertaking” in the forum state of this litigation. See

Bridgeport Music, 327 F.3d at 478-79 (quoting Neogen Corp., 282 F.3d at 891). Defendant

Chevrette’s actions were not passing, random, or fortuitous, but deliberate economic activities that

created a substantial connection with Tennessee – a connection through which he enriched both

himself and his employer. See id. (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475

(1985); CompuServe, 89 F.3d at 1263). Cf. Kerry Steel, Inc. v. Paragon Indus., Inc., 106 F.3d 147,

151 (6th Cir. 1997) (no purposeful availment where performance of the contract at issue had

nothing to do with the forum state and one of the contracting parties just happened to be from the

forum state); Ever-Seal, Inc., 2022 WL 3599519, at *9 (finding no purposeful availment on

allegations that the defendant unlawfully competed with a company that happened to be in

Tennessee absent evidence of communications into or action toward Tennessee); Watkins, 2010

WL 3491172, at *2 (dismissal appropriate where the plaintiff could not identify the “who, when,

what, or where” of any specific contact by a defendant with the forum state). Paying kickbacks in

this type of scheme “show[s] a purposeful direction of a tort at the forum state.” House of Raeford

Farms of La. L.L.C. v. Poole, No. 19-271, 2021 WL 3673901, at *5 (W.D. La. Mar. 18, 2021)

(finding minimum contacts based on “[t]he series of undisclosed communications and agreements

. . . as well as the $489,691.95 in kickbacks sent to [the forum state]”); see also Griffin, 85 F.4th

at 434; Neal, 270 F.3d at 333. Accordingly, Defendant Chevrette should not be surprised at having



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to answer for these payments in Tennessee, despite his alleged lack of physical presence here. See

Bridgeport Music, 327 F.3d at 478-79 (citing Burger King, 471 U.S. at 475, 476). Accordingly,

Plaintiff has satisfied the first prong of the specific jurisdiction test.

        B.      Defendant Chevrette has given rise to the causes of action in the Complaint
                through his conduct.

        The second prong of the specific jurisdiction test is “subject to a ‘lenient standard.’”

Integrated Mach., Inc., 2024 WL 3046316, at *5 (quoting Schneider v. Hardesty, 669 F.3d 693,

703 (6th Cir. 2012)). “An exercise of specific jurisdiction is proper where the claims in the case

arise from or are related to the defendant’s contacts with the forum state.” Intera Corp. v.

Henderson, 428 F.3d 605, 615 (6th Cir. 2005) (citing Kerry Steel, Inc., 106 F.3d at 149); see also

CompuServe, Inc., 89 F.3d at 1267 (“If a defendant’s contacts with the forum state are related to

the operative facts of the controversy, then an action will be deemed to have arisen from those

contacts.”); Global Force Entm’t, 385 F. Supp. 3d at 581 (“Minimum contacts exist where a

defendant purposefully avails itself of the privilege of conducting activities within the forum

state.”); Dunn, 2017 WL 2312900, at *3 (“specific personal jurisdiction may be found when a

defendant purposely directs his activities toward citizens of the forum state and litigation results

from injuries arising out of or relating to those activities”); Wolper v. Hotel Europe, No.

3:07CV1948, 2008 WL 2497471, at *5 (N.D. Ohio June 18, 2008) (“specific jurisdiction only

requires that the conduct giving rise to the present litigation have a connection to [the forum

state]”). “Physical presence is not the touchstone of personal jurisdiction.” Neal, 270 F.3d at 331.

        This prong is satisfied here. Defendant Chevrette’s alleged contacts with Tennessee were

kickback payments that were part and parcel of the scheme alleged in the Complaint. The payment

contacts are “related to the operative facts of the controversy,” and the “arise from” prong of the

test is satisfied. See CompuServe, Inc., 89 F.3d at 1267.

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          C.     This Court’s exercise of jurisdiction would be reasonable.

          If the Court finds “the first two elements of a prima facie case—purposeful availment and

a cause of action arising from the defendant’s contacts with the forum state—then an inference

arises that this third factor is also present.” Id. at 1268. “A court must consider several factors in

this context, including ‘the burden on the defendant, the interest of the forum state, the plaintiff’s

interest in obtaining relief, and the interest of other states in securing the most efficient resolution

of controversies.’” Id. (quoting Am. Greetings Corp. v. Cohn, 839 F.2d 1164, 1169-70 (6th Cir.

1988)).

          Because Plaintiff has shown a prima facie case for the first two elements, there is an

inference in this case that the Court’s exercise of personal jurisdiction over Defendant Chevrette

would be reasonable. A balancing of the factors only confirms that inference. Although there may

be some burden on a defendant when litigating a case in another state’s court, that burden has been

eased by “modern transportation and communication,” and in this case “appears to be no greater

than the burden would be on plaintiff to litigate in” his home state of North Carolina. Integrated

Mach., Inc., 2024 WL 3046316, at *7 (quoting Ardent Techs. Inc. v. Advent Servs. LLC, 2023 WL

5588547, at *8 (S.D. Ohio Aug. 29, 2023); Nationwide Mut. Ins. Co. v. Curry, 1997 WL 165374,

at *6 (S.D. Ohio Jan. 7, 1997)). Moreover, “this case clearly implicates [Plaintiff’s] business

interests and [Tennessee] possesses an undeniable stake in protecting the business interests of its

citizens.” Id. (quoting Ardent Techs. Inc., 2023 WL 5588547, at *8).

                                       IV.    CONCLUSION

          Plaintiff has made a prima facie case for the Court’s specific jurisdiction over Defendant

Chevrette. For the reasons stated above, Defendant Chevrette’s Motion to Dismiss pursuant to

Rule 12(b)(2) should be denied. Alternatively, Plaintiff requests the opportunity to take



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jurisdictional discovery to better define Defendant Chevrette’s role in the scheme and conspiracy

alleged in the Complaint.

Dated: March 3, 2025


                                            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 3rd day of March 2025, Plaintiff’s Response in Opposition
to Defendant Chevrette’s Motion to Dismiss was filed electronically with the Clerk of Court to be
served by the Court’s electronic filing system upon the parties in this matter.

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